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                      EXHIBIT C
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                              Escrow Services Agreement
 This Escrow Services Agreement (this "Agreement") is entered into as of February 1, 2011,
 between Life Partners, Inc. ("LPI") and Advance Trust and Life Escrow Services, LT A ("Escrow
 Agent").

                                            Recitals
         WHEREAS, LPI is engaged in the business of a life settlement provider arranging for the
 sale by owners ("Sellers") and purchase for investment by individual and institutional purchasers
 ("Purchasers") of life insurance policies ("Policies") (those sale and purchase transactions, "Life
 Settlements);" and

         WHEREAS, to facilitate Life Settlements, the escrow services of an independent escrow
 agent are utilized by LPI for holding funds deposited by actual and/or potential Purchasers, for
 handling Life Settlement closings (whereby title to and ownership of Policies are transferred
 from Sellers to LPI as Purchasers' agent), for paying Policy premiums, and for collecting and
 distributing Policy proceeds to Purchasers upon the death of the Policies' insureds;

         IT IS, THEREFORE, AGREED AS FOLLOWS:

            APPOINTMENT, SERVICES, AND LIABILITY OF ESCROW AGENT

    1. Appointment of Escrow Agent: Escrow Agent has been and is hereby appointed as LPI's
       exclusive escrow agent for all Life Settlements closing after February 1, 2011, pursuant to
       the terms and conditions of this Agreement, as well as from February 1, 2008, through
       January 31, 2011, pursuant to LPI's previous escrow services agreements with Dunnam &
       Dunnam, L.L.P. Escrow Agent shall provide the specific escrow services expressly
       required in this Agreement as stated or hereafter amended.

    2. Deposit with Escrow Agent: Escrow Agent shall accept funds from time to time delivered
       to Escrow Agent by actual and/or potential Purchasers, place those funds in an account
       (the "Purchasers' Escrow Account") as set out in the Agency Agreement and Special
       Power of Attomey ("AA'') signed by those Purchasers, and hold those funds for
       safekeeping until used as instructed in writing by those Purchasers for the purchase of
       Policies. Each Purchaser's funds shall be held with all other Purchasers' funds in the
       Purchasers' Escrow Account, and Escrow Agent shall sub-account for each Purchaser's
       account balance. Each Purchaser's initial escrow deposit will be accompanied by an AA
       specifying that Purchaser's name and address, that Purchaser's funds to be deposited in
       the Purchasers' Escrow Account, and specific instructions for the deposit of those funds in
       the Purchasers' Escrow Account. Additional escrow deposits may be made by existing
       Purchasers without completing a new AA. Within two business days after receiving
       necessary documentation and funds for the establislunent of a new Purchaser account,
       Escrow Agent shall establish a sub-account in its records for that Purchaser and deposit
       those funds in the Purchasers' Escrow Account. Upon proper written request fi'om a




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         Purchaser, Escrow Agent shall promptly return any of that Purchaser's funds held in the
         Purchasers' Escrow Account that have not been used for Policy purchases.

     3. Closing of Policies: Purchasers' funds shall be held in the Purchasers' Escrow Account
        until distributed by Escrow Agent as instructed by those Purchasers and LPI pursuant to a
        Life Settlement closing ("Closing"). A separate escrow agreement for each Closing
        setting out that Closing's tenns ("Closing Instructions") shall be entered into between LPI,
        Escrow Agent, and the Seller of the Policy involved in that Closing. Prior to a Policy's
        Closing, Escrow Agent shall contact the insurance company issuing that Policy to verify
        information regarding that policy including that Policy's number, the Seller's name,
        transfer of ownership/beneficiary requirements, that Policy's in force status, the existence
        of any loans, liens, collateral assignments, or other encumbrances on that Policy, and that
        Policy's premium due date. Escrow Agent shall hold the original of each Policy or other
        suitable proof of insurance before and after Closing and disburse funds from the
        Purchasers' Escrow Account according to that Policy's Closing Instructions. All
        payments to a Policy's Seller shall be disbursed by Escrow Agent as instructed by written
        payment instructions from that Seller; and all fees to LPI and Escrow Agent, as well as
        premium transfers and loan payments due the insurance company, shall be handled and
        disbursed by Escrow Agent according to that Policy's Closing Instructions. After a
        Policy's Closing, designation of that Policy's ownership shall be in the name of LPI;
        provided, however, that any indication of a Policy's ownership by LPI is as agent only for
        that Policy's Purchasers. This designation is made as an accommodation to the life
        insurance companies involved in that Life Settlement and to facilitate the orderly conduct
        of business. No ownership interest, other than as agent for Purchasers, is assumed by LPI;
        and no other interest shall be recognizable by anyone. Unless otherwise properly
        authorized in writing by a Purchaser or ordered by a regulatory or judicial authority,
        Escrow Agent shall not honor any instruction by LPI which would dispossess that
        Purchaser for whom LPI acts as agent of any interest in a Policy for which Escrow Agent
        acts as escrow agent.

     4. Premium Administration Duties: Escrow Agent shall maintain an account (the "Premium
        Escrow Account") to hold funds escrowed for the payment of premiums on Policies and
        shall be responsible for sub-accounting for each Purchaser's funds held in that account,
        including accounting for each Policy held by that Purchaser and the amount of that
        Purchaser's escrowed funds attributable to that Policy. LPI shall receive all Policy
        premium notices directly from the insurance companies issuing those Policies and instruct
        Escrow Agent in a timely manner as to when those premium payments are due and to be
        made. Escrow Agent shall pay all premiums on each Policy to that Policy's issuing
        insurance company, but only as instructed by LPI and only with funds held for that Policy
        in the Premium Escrow Account. Escrow Agent and its successors or assigns shall not
        honor any instruction by LPI or any of its directors, officers, employees, or agents to pay
        any amount from the Premium Escrow Account for any purpose other than to pay
        premiums as above stated, to reimburse any party (including LPI) for its payments of
        those premiums, to refund unused unneeded premiums to or as otherwise properly directed
        in writing by Purchasers, or as ordered by a regulatory or judicial authority. Escrow
        Agent shall have the right to request reasonable evidence that a premium payment has




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         been made to the insurance company prior to honoring any instruction from LPI to make
         reimbursement for that premium payments from the Premium Escrow Account. If the
         Premium Escrow Account for any Policy is exhausted or insufficient to pay that Policy's
         then due premium, Escrow Agent shall communicate that infonnation to LPI as soon as
         reasonably possible in order to afford LPI the opportunity to communicate to Purchasers
         their obligation to place additional funds in the Premium Escrow Account. LPI shall be
         responsible for notifying a Policy's Purchasers of the depletion of that Policy's escrowed
         premiums and of the amount those Purchasers must pay to Escrow Agent to replenish the
         Premium Escrow Account for that Policy. Escrow Agent shall retain those additional
         payments in the Premium Escrow Account and sub-accounts for that Policy in the same
         manner as the original escrowed payment amounts.

     5. Purchaser Account Changes: Escrow Agent shall make account changes and facilitate
        transfers and sales of Policy ownership interests as properly authorized in writing by
        Purchasers through LPI. Upon reasonable request by Escrow Agent, LPI shall procure
        from any Purchaser any documents and/or information necessary to affect an account
        change desired by that Purchaser.

     6. Distribution of Death Benefits: Escrow Agent shall be designated as the beneficiary of
        each Policy, but only on behalf of that Policy's Purchasers. When a Policy matures, LPI
        shall obtain proof of the death of that Policy's insured, the appropriate claim forms from
        that Policy's issuing insurance company, and any other documents necessary to file the
        claim for that Policy's death benefits with that insurance company. Upon request, Escrow
        Agent shall provide LPI with any reasonable aid necessary in procuring these documents.
        Upon receipt of those documents, Escrow Agent shall promptly file a claim for those
        death benefits with that insurance company. LPI shall provide Escrow Agent with a report
        showing the percentage of those death benefits allocable to each of that Policy's
        Purchasers, as well as any special distribution requirements due to liens, judicial orders,
        assignments, or written instructions from Purchasers. Within the later of seven (7) days
        after Escrow Agent's receipt of that repmi or those funds, Escrow Agent shall distribute
        those death benefits according to that report. If a Policy matures prior to the use of all
        premiums escrowed for that Policy, all unused premiums shall be distributed to that
        Policy's Purchasers when that Policy's death benefits are distributed. Purchasers may
        elect to receive their portion of Policy proceeds from the Escrow Agent or to direct
        Escrow Agent to retain those proceeds in the Purchasers' Escrow Account for fmiher
        Policy purchases.

     7. Exchange of Information: Escrow Agent and LPI shall maintain and exchange
        information related to Life Settlements and escrow services electronically via a shared
        data software system provided and maintained by LPI.

     8. Liability of Escrow Agent: Escrow Agent's duties shall be determined solely by this
        Agreement, any written agreements between Escrow Agent and any or all of LPI, Sellers,
        and Purchasers, and the laws of the State of Texas.          Escrow Agent shall not be
        responsible in any manner whatsoever for the form, sufficiency, correctness, genuineness,
        validity, or proper execution or authorization of any documents, information, or matters
        pertaining to any Life Settlement or resulting escrow; for the identity or authority of any



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         person executing any documents, providing any information, or depositing anything in
         escrow; or for the accuracy, validity, or sufficiency of any instructions, information, or
         documents submitted to Escrow Agent. Escrow Agent shall have no implied duties to
         determine or inquire into the occurrence of any event or contingency or any perfom1ance
         or nonperformance by LPI or any Seller or Purchaser. Escrow Agent shall not be liable
         for any of its acts or omissions other than those constituting willful misconduct or gross
         negligence in light of all surrounding circumstances (including, without limitation, the
         time and facilities available to Escrow Agent in the ordinary conduct of its business). In
         determining the occurrence of any event or contingency, Escrow Agent may request from
         LPI or any other person such reasonable additional evidence as Escrow Agent in its sole
         discretion may deem necessary to determine any fact relating to that occurrence and, in
         this c01mection, may inquire and consult with LPI and/or any other persons. If Escrow
         Agent is required to take any action upon the occurrence of any event or contingency, the
         time prescribed for that action shall be a reasonable time after written notice to Escrow
         Agent of that occunence. Under no circumstances shall Escrow Agent be liable for any
         general or consequential damages or damages caused in whole or in part by any act or
         omission by LPI or any of its directors, officers, employees, or agents.

     9. Reliance of Escrow Agent: Escrow Agent may rely upon and will be protected in acting
        in reliance (a) upon any instructions, directions, or infonnation which is not inconsistent
        with this Agreement and furnished to it in writing by LPI or any Purchasers or Sellers
        and/or (b) upon any written notice, request, waiver, consent, certificate, receipt,
        authorization, power of attorney, or other paper or document which Escrow Agent in good
        faith believes to be genuine and what it purports to be. Escrow Agent is authorized to rely
        upon the representations of LPI as to its authority to execute and deliver this Agreement,
        notifications, receipts, or instructions hereunder and as to relationships among persons,
        including persons authorized to receive delivery hereunder. Written notice of any
        succession or assignment of any interest of LPI or any Seller, Purchaser, or other person
        shall not be effective until received by Escrow Agent.

      INTEREST ALLOCATION, TERMINATION FEE, AND CHANGE IN CONTROL
                              AGREEMENT

     10. Purpose: LPI considers the maintenance of a sound, experienced, and reliable escrow
         agent to be essential to protecting and enhancing the best interests of LPI and its parent.
         LPI recognizes that, during the ordinary course of business, various capital structure
         changes such as merger, acquisition, strategic alliances, the purchase or sale of large or
         controlling blocks of stock (either in private transactions or on the open market) or other
         changes in LPI's structure or that of its parent may be unsettling to Escrow Agent,
         especially where that may result in Escrow Agent's termination as escrow agent
         hereunder, in the depmture or distraction of key personnel at Escrow Agent, or in a
         hesitation on the part of Escrow Agent to make capital expenditures which are necessary
         and prudent to the efficient operations of its escrow business without a reliable method of
         recovering the cost of such capital expenditures. For these reasons, LPI has determined
         that it is in LPI' s best interest to minimize these concems on the patt of Escrow Agent by
         entering into this Agreement in order to provide Escrow Agent with a reliable method of




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         recovering the cost of various capital or other expenditures which may be made from time
         to time in order to facilitate Escrow Agent's escrow service business hereunder. Further,
         LPI recognizes that, while fees assessed on a per transaction basis are intended to be
         adequate to cover Escrow Agent's operational costs associated with each transaction,
         Escrow Agent incurs ongoing operational expenses which are compensated by way of the
         interest allocation arrangement set forth herein with LPI on funds kept within the Escrow
         Account and Premium Escrow Account. In order to provide for reliability and stability
         from this line of income, this Agreement is further entered into to provide for a base level
         of compensation to Escrow Agent for Life Settlements and to encourage Escrow Agent to
         make such capital expenditures as may from time to time be necessary in order to facilitate
         the efficiency of workflow from such business. The provisions hereof related to interest
         allocation and Change in Control shall bind the parties as they are currently structured as
         well as any successor entity or structure into which the pmiies may transform in the future.

     11. Definitions:

                 a. "Cause" means any of the following acts committed by Escrow Agent or any of
                    its directors, officers, employees, agents, or representatives:

                       1.    willfully engaging in illegal conduct or gross misconduct which            IS
                            materially injurious to LPI or any Purchaser or Seller;

                      n.      engaging in fraud, misappropriation, embezzlement, or any other act or
                            acts of dishonesty resulting or intended to result directly or indirectly in a
                            gain or personal enrichment to Escrow Agent or any of its directors,
                            officers, employees, agents, or representatives at the expense of LPI or any
                            Purchaser or Seller;

                     111.     willful and continual failure substantially to perform its duties for LPI,
                            Sellers, or Purchasers continued for a period of at least 30 days after a
                            written demand for substantial performance is delivered to Escrow Agent
                            by LPI specifically identifying the mam1er in which LPI believes that
                            Escrow Agent has not substantially perfom1ed its duties; or

                 b. "Good Reason" means any of the following acts committed by LPI or any of its
                    directors, officers, employees, agents, or representatives:

                       1.    willfully engaging in illegal conduct or gross misconduct which            IS
                            materially injurious to Escrow Agent or any Purchaser or Seller;

                      11.     engaging in fraud, misappropriation, embezzlement, or any other act or
                            acts of dishonesty resulting or intended to result directly or indirectly in a
                            gain or personal enrichment to LPI or any directors, officers, employees,
                            agents, or representatives at the expense of Escrow Agent or any
                            Purchaser or Seller; or




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                     111.     willful and continual failure substantially to perfonn its duties to Escrow
                            Agent, Sellers, or Purchasers which failure has continued for a period of at
                            least 30 days after a written demand for substantial perfmmance is
                            delivered to LPI by Escrow Agent specifically identifying the manner in
                            which Escrow Agent believes that LPI has not substantially performed its
                            duties.

                 c. "Change in Control" means the occunence of any of the following events:

                       1.     Any "person(s)" (as such term is used in Sections 13(d) and 14(d) of the
                            Exchange Act), other than the owners as of the date hereof, become(s) the
                            owner(s) or "beneficial owner(s)" (as defined in Rule 13d-3 of the
                            Exchange Act) directly or indirectly of fifty percent (50%) or more of the
                            total voting power represented by LPI's or its parent's voting securities
                            outstanding prior to that occunence, unless that ownership change is both
                            due to Brian D. Pardo's death or incapacity and either from Brian D.
                            Pardo to any of Brian D. Pardo's beneficiaries, heirs, or devisees or from
                            Pardo Family Holdings, Ltd. to another entity controlled by Brian D.
                            Pardo or any of Brian D. Pardo's beneficiaries, heirs, or devisees
                            appointed to represent Brian D. Pardo due to his death or incapacity; or

                      11.     The consummation of the sale or disposition by LPI or its parent of 50%
                            or more of the assets ofLPI or its parent; or

                     111.     Change in the composition of the Board of LPI or its parent causing a
                            majority of the directors of LPI or its parent to differ from those currently
                            serving unless those new directors are elected by Brian D. Pardo, Pardo
                            Family Holdings, Ltd., or any of Brian D. Pardo's beneficiaries, heirs, or
                            devisees; or

                     IV.      The consummation of a merger, reorganization, agreement or strategic
                            pminership with any other entity, or other similar change in the business
                            structure of LPI or its parent which would not result in the ownership of
                            the voting securities of LPI or its parent, which are outstanding
                            immediately prior thereto, continuing to represent (either by remaining
                            outstanding or being converted into voting securities of the surviving
                            entity or its parent) more than fifty percent (50%) of the total voting power
                            represented by the voting securities of LPI or its parent or such surviving
                            entity or its parent which are outstanding immediately thereafter.

     12. Termination Other Than for Cause, Resignation for Good Reason, or Resignation
         Within Eighteen Months of a Change in Control. Escrow Agent shall be paid by LPI a
         lump sum payment of two million US dollars ($2,000,000) (the "Termination Fee") upon
         and within ten (1 0) days after the occurrence of any of the following

                 a. If LPI tenninates this Agreement other than for Cause;




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                 b. If Escrow Agent resigns as escrow agent for Good Reason;

                 c. If Escrow Agent resigns as escrow agent within a period of time extending from
                    the day Escrow Agent receives notification of a Change in Control up to and
                    including the last day of the 18 111 month following that notification.

          In the event of a Change in Control, LPI shall notify Escrow Agent within 30 days of the
         execution of a binding agreement or action which would result in a Change in Control,
         irrespective of whether that Change in Control would not be effective until some future
         date or is condition in any way.

     13. Interest Allocation: Interest eamed on funds held on deposit in the Escrow Account and
         Premium Escrow Account by Escrow Agent shall be divided between Escrow Agent and
         LPI according to the following schedule:

                 a. If interest in any month is earned at an average daily rate of 0.50% per annum or
                    less, the total interest eamed for that month shall be retained by Escrow Agent
                    and no part of this interest shall be retained by LPI.

                 b. If interest in any month is eamed at an average daily rate in excess of 0.50% per
                    armum, Escrow Agent shall retain the first 0.50% in interest eamed and the
                    balance shall be allocated as set fmth in §13(c).

                 c. The balance of interest eamed in excess of 0.50% per annum, if any, shall be split
                    between LPI and Escrow Agent at a ratio of 70% payable to LPI and 30% payable
                    to Escrow Agent. Likewise, the monthly cost of any service charges or analysis
                    fees separ·ately imposed by the depository institution shall be allocated at the ratio
                    of 70% by LPI and 30% by Escrow Agent.

                 d. In any month, if the interest allocation to Escrow Agent as set fmth above is
                    insufficient for Escrow Agent to cover its operating expenses, additional amounts
                    of interest shall be allocated to Escrow Agent, or payments shall be made by LPI
                    to Escrow Agent, to allow Escrow Agent to meet its operating expenses for that
                    month without operating at a loss, and any amount of interest over this amount
                    shall be allocated as set forth in § 13(b) & (c); provided, however, that Escrow
                    Agent shall use commercially reasonable efforts to operate its business efficiently
                    such that it does not operate at a loss and require any additional allocations of
                    interest or payments.

                                            MISCELLANEOUS

     14. Joint Prosecution and Indemnification: From time to time, lawsuits may need to be
         brought by LPI against insurance companies issuing Policies and/or other Persons having
         an interest in Policies. To the extent that Escrow Agent as the Policies' named beneficiary
         is an indispensable or necessary party to any such lawsuit, Escrow Agent authorizes LPI




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         and its attomey to bring that lawsuit on Escrow Agent's behalf in that-capacity. LPI shall
         be solely responsible for, and indemnify, defend, and hold harmless Escrow Agent from,
         all attomey' s fees, costs, and expenses related to that lawsuit and, also, shall provide
         Escrow Agent with a copy of all pleadings in that lawsuit and keep Escrow Agent
         reasonably informed of that lawsuit's status insofar as Escrow Agent's interest might be
         adversely affected .

          LPI shall be solely responsible for and indemnify, defend, and hold hannless Escrow
          Agent from any and all claims, suits, demands, causes of action, damages, liabilities,
          interest, attorney's fees, costs, expenses, and losses of every kind (other than for Escrow
          Agent's fraud, willful misconduct, or gross negligence) resulting from any Life
          Settlement to the extent that reimbursement or coverage is not available to Escrow Agent
          under any E&O or professional liability policy. If LPI provides indemnification for
          attorney's fees as mentioned above, LPI shall have the absolute right to control the
          resolution of that Life Settlement controversy (including, without limitation, the selection
          and retention of counsel, as well as all matters pe1iaining to prosecution of claims,
          counter-claims, defenses, waiver, settlement, and other strategic and tactical decisions).

     15. Notices: All notices, requests, demands, or other communications with deliveries required
         or permitted to be given pursuant to this Agreement shall be in writing and shall be
         deemed to have been duly given if delivered personally, sent by facsimile transmission, or
         deposited for mailing by first class mail, postage prepaid, sent either registered or certified
         mail as follows:

          Ifto LPI:              Life Partners, Inc.
                                 204 Woodhew Dr.
                                 Waco, Texas 76712
                                 Fax: (254) 751-1025

          If to Escrow Agent:    Advance Trust & Life Escrow Services, L.T.A.
                                 4125 W. Waco Dr.
                                 Suite 200
                                 Waco, Texas 76710
                                 Fax: (254) 732-4620

          If Escrow Agent is authorized or directed under this Agreement to deliver the subject
          matter of the escrow, or any part thereof, to any agent or employee of LPI, that delivery
          may be made by depositing the same in the United States mail in an envelope addressed
          to LPI at LPI's above stated address.

     16. Holidays: Whenever a performance date under this Agreement falls on a holiday of
         Escrow Agent, that performance date shall be Escrow Agent's next successive business
         day.

     17. Fees: Escrow Agent shall receive fees in accordance with the attached schedule. This
         schedule shall be subject to change only by mutual, written agreement between the parties




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           hereto with 90 days written notice. ·In addition to the fees set forth in the attached
           schedule, Escrow Agent shall receive a portion of the interest eamed on escrowed funds as
           provided in this Agreement.

      18. Other Instruments: Each party shall, upon the request of the other party, execute,
          acknowledge, and deliver any and all instruments reasonably necessary or appropriate to
          effectuate the parties' intention expressed in this Agreement.

      19. Termination: This Agreement may be tetminated by either party upon at least 120 days
          written notice; in which case, within six months after that notice, a successor agent
          appointed by LPI shall accept a transfer of all of Escrow Agent's escrowed funds and
          related records and assume all of Escrow Agent's duties and obligations (provided,
          however, that, at the end of that six month period, if that appointment, transfer, and
          assumption has not occurred, LPI shall then accept a transfer of all of Escrow Agent's
          escrowed funds and related records and assume all of Escrow Agent's duties and
          obligations). After any such transfer and assumption, Escrow Agent shall not have any
          further duties or obligations regarding the transfened funds and records and shall not be
          responsible or liable for any acts or omissions of any successor escrow agent or LPI.
          Escrow Agent shall provide such reasonable support and cooperation as is necessary to
          facilitate such a transfer and assumption. If this Agreement is tenninated for a reason that
          does not result in the payment of a termination fee to Escrow Agent, LPI shall make
          payments to Escrow Agent as needed to enable Escrow Agent to conduct its business
          without any loss from the time of the tennination notice until the completion of that
          transfer and assumption process; provided, however, that, to the extent reasonably
          possible, Escrow Agent shall use commercially reasonable efforts to operate its business
          during that process so as not to operate at a loss and require any such payments.

      20. Assignment: This Agreement may not be modified, assigned, or amended except by a
          written instrument signed by the parties hereto and referring specifically to this
          Agreement. This agreement will be binding upon and inure to the benefit of any successor
          of Escrow Agent and LPI including any entity emanating from either or both parties. Any
          such successor will be deemed substituted for the pmiy from which it emanated under the
          terms of this agreement for all purposes. For this purpose, "successor" means any person,
          firm, corporation or other business entity which at any time, whether by purchase, merger,
          spinoff or otherwise, directly or indirectly acquires all or substantially all of the stock,
          securities, assets, or business of the party from which it emanates. Other than as provided
          for in this paragraph, none of the rights of Escrow Agent to receive any form of
          compensation payable pursuant to this agreement may be assigned or transfened to any
          party without LPI's consent.

      21. Jurisdiction, Venue, and Governing Law: Any legal action brought to enforce this
          agreement shall be brought in the state or federal courts of Texas in the venue of
          McLennan County. This Agreement will be governed by the laws of the State of Texas.

      22. Severability: In the event that any provision hereof becomes or is declared by a court of
          competent jurisdiction to be illegal, unenforceable or void, this agreement will continue in
          full force and effect without said provision.



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     23. Integration: This agreement represents the entire agreement and understanding between
         the parties as to the subject matter herein and supersedes all prior or contemporaneous
         agreements whether written or oral. This agreement may be modified only by agreement
         of the parties by a written instrument executed by the parties that is designated as an
         amendment to this agreement.

     24. Headings: All captions and section headings used in this agreement are for convenient
         reference only and do not form a part of this Agreement.

     25. Tax Withholding: All payments made pursuant to this agreement will be subject to
         withholding of applicable taxes.

     26. Counterparts: This agreement may be executed in counterparts, and each counterpart will
         have the same force and effect as an original and will constitute an effective, binding
         agreement on the pa1i of each undersigned.

   Executed effective February 1, 2011

   Life Partners, Inc.




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        Vance Dunnam, Sr., Pi·esident




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                                              FEE SCHEDULE

         8   Life Settlement Closing

                   o   $1,000 per closing for up to 5 Purchasers; additional $20 per Purchaser
                       thereafter.

         o   Front End Only (FEO) Closing- where Escrow Agent is not named as beneficiary, no
             funds are escrowed, and Escrow Agent does not pay premiums

                   o   $600.00 per closing for one investor, $20 per Purchaser thereafter.

         •   Closing Change - when Purchasers are changed after the original Funding Status Report
             has been verified

                   o   $100.00 up to 5 Purchasers, additional $20 per Purchaser thereafter.

         •   Closing on Policy Value Increase

                   o   $100.00 per Purchaser, capped at $1,000 per policy.

         •   Resale - $100 per Outgoing or Incoming Purchaser, whichever is greater, capped at
             $1,000 per resale transaction.

        •    Account Changes

                   o Due to Death of Purchaser- $100 per Purchaser
                   o Due to Divorce - $100 per Purchaser
                   o Account Re-Registration (change account designation/category) $100 per
                     Purchaser
                   o Mandatory Distribution from IRA- $25.00 per Purchaser
                   o Name Change Only Due to Marriage or Divorce- no charge

        •    Cashier's Certified Check- $25.00
        •    Certified Mail Return Receipt Requested - $4.40
        •    Overnight Delivery- Domestic - $18.00
        •    Overnight Delivery- Foreign- $30.00
        o    Overnight Delivery Address Changes- $10.00
        •    Wire Fee- Domestic- $25.00
        •    Wire Fee Foreign- $50.00
        •    Wire Retrieval-- Domestic- $25.00
        •    Rejected Wire- $25.00
        •    Rejected Wire- Foreign- $50.00
        •    Refund ofPremium Payment requested in enor- $10.00
        •    Foreign Bank Draft- $25.00




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         •   Returned Check- $25.00
         •   Special Processing (used for miscellaneous special projects requested by LPI)-
             $50.00/hr.
         •   Escrow Agent checks on closings- first three checks are free, $10.00 per check
             thereafter
         •   Stop Payments- $25.00
         •   Tax Fon11 Changes for Revised 1099's (due to wrong TIN number provided by Seller,
             Purchaser, or Beneficiary) - $50.00.




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